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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR16-287-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   LILLIANA VELIZ,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances

15 Date of Detention Hearing:     November 16, 2016.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

03          2.      Defendant has a criminal record that includes numerous controlled substances

04 charges and failures to appear, which may likely be related to the indications of a substantial

05 substance abuse problem.         While the Court considered substance abuse treatment as a

06 condition of release, defendant has at least four pending state court cases set for trial, presenting

07 the strong possibility that—if convicted—defendant may be taken into the custody of the state

08 Department of Corrections, which would undermine the efficacy of drug treatment as a

09 condition of release.

10          3.      Taken as a whole, the record does not effectively rebut the presumption that no

11 condition or combination of conditions will reasonably assure the appearance of the defendant

12 as required and the safety of the community.

13 It is therefore ORDERED:

14      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

15          General for confinement in a correction facility separate, to the extent practicable, from

16          persons awaiting or serving sentences or being held in custody pending appeal;

17      2. Defendant shall be afforded reasonable opportunity for private consultation with

18          counsel;

19      3. On order of the United States or on request of an attorney for the Government, the

20          person in charge of the corrections facility in which defendant is confined shall deliver

21          the defendant to a United States Marshal for the purpose of an appearance in connection

22          with a court proceeding; and



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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 16th day of November, 2016.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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